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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               WACO DIVISION

                                               §
 3SHAPE A/S,                                   §
                                               §
                 Plaintiff,                    §   Civil Action No. 6:21-CV-1110-
                                               §   ADA
         v.                                    §
                                               §   Patent Case
 CARESTREAM DENTAL LLC,                        §
                                               §
                 Defendant.                    §
                                               §

                         CASE READINESS STATUS REPORT

        Plaintiff 3Shape A/S and Defendant Carestream Dental LLC Inc. (“Carestream”)

hereby provide the following status report.

                                 FILINGS AND EXTENSIONS

        Plaintiff’s Complaint was filed on October 26, 2021.        There have been no

extensions filed in this case.

                              RESPONSE TO THE COMPLAINT

        Carestream filed a Motion to Dismiss for Improper Venue or, in the Alternative, to

Transfer Venue on January 28, 2022 (Dkt. No. 13). Carestream has not filed an Answer

or any counterclaims.

                                   PENDING MOTIONS

        Carestream’s Motion to Dismiss for Improper Venue or, in the Alternative, to

Transfer Venue is currently pending before the Court (Dkt. No. 13). Pursuant to this

Court’s Standing Order Regarding Venue and Jurisdictional Discovery for Patent Cases,

3Shape intends to serve interrogatories, RFPs and take deposition testimony in connection

with that Motion. This discovery will proceed and will be completed by no later than April


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28, 2022. 3Shape’s response to Carestream’s Motion will be due no later than May 12,

2022.

                 RELATED CASES IN THIS JUDICIAL DISTRICT

        There is one case pending in this District involving one of the patents asserted in

this case: Align Technology, Inc. v. 3Shape A/S, No. 6:20-cv-00979-ADA. In that case,

3Shape asserted four patents, including U.S. Patent No. RE48,221 (“’221 patent”), in

counterclaims. The ’221 patent is also asserted by Plaintiff in this case.

                       IPR, CBM, AND OTHER PGR FILINGS

        The ’221 patent is also subject to inter partes review in two IPRs: IPR2022-00144

and IPR2022-00145. IPR2022-00144 was filed by Align Technology, Inc. on November

9, 2021 and docketed on December 10, 2021. An institution decision is expected on or

before June 10, 2022. A Final Written decision is expected on or before June 10, 2023.

IPR2022-00145 was filed by Align Technology, Inc. on November 9, 2021 and docketed

on November 29, 2021. An institution decision is expected on or before May 29, 2022. A

Final Written decision is expected on or before May 29, 2023.

        The ’221 patent is a reissue of U.S. Patent No. 9,329,675, which had all claims (1-

19) cancelled following inter partes review in IPR2018-00197. That IPR was also initiated

by Align Technology, Inc. The ’675 patent is not asserted in this action.

        There are no other known pending IPR, CBM, or other PGR filings.

                NUMBER OF ASSERTED PATENTS AND CLAIMS

        Plaintiff has asserted the following three patents in this case: U.S. Patent Nos.

RE48,221; 10,695,151; and 11,076,146 (collectively, the “Asserted Patents”). Pursuant to

the Court’s Standard Order Governing Proceedings in Patent Cases (OGP Version 3.5.1),




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Plaintiff will serve its preliminary infringement contentions on February 11, 2022, which

will specify the claims asserted for each of the Asserted Patents.

                    APPOINTMENT OF TECHNICAL ADVISER

       The parties do not presently request a technical adviser to be appointed to the case

to assist the Court with claim construction or other technical issues.

                            MEET AND CONFER STATUS

       Plaintiff and Carestream met and conferred. At this time, the parties have no pre-

Markman issues to raise at the CMC.

 Date: February 5, 2022                               Respectfully submitted,

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